Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 1 of 10 Page ID #:1




  1
      STEPHEN M. LOBBIN
      sml@smlavvocati.com
  2   SML AVVOCATI P.C.
  3
      969 Hilgard Ave. #1012
      Los Angeles, California 90024
  4   (949) 636-1391 (Phone)
  5
      Attorney(s) for Social Positioning Input Systems, LLC
  6

  7
                       IN THE UNITED STATES DISTRICT COURT
  8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
      SOCIAL POSITIONING INPUT         §
 10   SYSTEMS, LLC,                    §
                                       §
 11
           Plaintiff,                  §                  Case No. 8:21-cv-01536
 12                                    §
      vs.                              §                  DEMAND FOR JURY TRIAL
 13
                                       §
 14   LOCATION BASED                   §
      TECHNOLOGIES, INC.,              §
 15
                                       §
 16        Defendant.                  §
      ________________________________ §
 17

 18
                                            COMPLAINT
 19
            Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
 20
      this Complaint against Location Based Technologies, Inc. (“Defendant” or “LBT”)
 21
      for infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365
 22
      Patent”).
 23
                               PARTIES AND JURISDICTION
 24
            1.     This is an action for patent infringement under Title 35 of the United
 25
      States Code. Plaintiff is seeking injunctive relief as well as damages.
 26
            2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 27
      (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 28

                                               1
                       COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 2 of 10 Page ID #:2




  1   infringement arising under the United States patent statutes.
  2          3.     Plaintiff is a Texas limited liability company with an address of 1 East
  3   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
  4          4.     On information and belief, Defendant is a Nevada corporation with its
  5   principal office located at 7545 Irvine Center Dr., Suite 200, Irvine, CA 92618. On
  6   information and belief, Defendant may be served through its agent, David M. Morse,
  7   Sr., at the same address, or Incorp Services, Inc., at 3773 Howard Hughes Pkwy., Ste
  8   500S, Las Vegas, NV, 89169 - 6014.
  9          5.     On information and belief, this Court has personal jurisdiction over
 10   Defendant because Defendant has committed, and continues to commit, acts of
 11   infringement in this District, has conducted business in this District, and/or has
 12   engaged in continuous and systematic activities in this District.
 13          6.     On information and belief, Defendant’s instrumentalities that are alleged
 14   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
 15   in this District.
 16                                           VENUE
 17          7.     On information and belief, venue is proper in this District under 28
 18   U.S.C. § 1400(b) because Defendant is deemed to reside in this District.
 19   Alternatively, acts of infringement are occurring in this District and Defendant has a
 20   regular and established place of business in this District.
 21                                          COUNT I
 22         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
 23          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 24          9.     This cause of action arises under the patent laws of the United States
 25   and, in particular, under 35 U.S.C. §§ 271, et seq.
 26          10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
 27   to enforce the ‘365 Patent and sue infringers.
 28          11.    A copy of the ‘365 Patent, titled “Device, System and Method for
                                                  2
                          COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 3 of 10 Page ID #:3




  1   Remotely Entering, Storing and Sharing Addresses for a Positional Information
  2   Device,” is attached hereto as Exhibit A.
  3         12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
  4   compliance with Title 35 of the United States Code.
  5         13.    Upon information and belief, Defendant has infringed and continues to
  6   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
  7   using (at least by having its employees, or someone under Defendant's control, test
  8   the accused Product), importing, selling, and/or offering for sale associated hardware
  9   and software for asset locating services (e.g., PocketFinder asset tracking platform,
 10   and any associated hardware, apps, or other software) (“Product”) covered by at least
 11   Claim 1 of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365
 12   patent either directly or through acts of contributory infringement or inducement in
 13   violation of 35 U.S.C. § 271.
 14         14.    The Product provides an asset tracking system for real-time GPS
 15   tracking of assets. A user can receive location information on a positional information
 16   device (e.g., mobile device or computer). Certain aspects of this element are
 17   illustrated in the screenshot(s) below and/or in those provided in connection with
 18   other allegations herein.
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                               3
                       COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 4 of 10 Page ID #:4




  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
            15.    The Product software sends a request from a first (requesting) positional
 26
      information device (e.g., mobile device or desktop with software installed) to a server.
 27
      The request is for the real-time location (e.g., stored address) of an asset, and includes
 28

                                               4
                       COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 5 of 10 Page ID #:5




  1   a first identifier of the requesting positional information device (e.g., user ID and
  2   password for the Product software used in the particular enterprise). The request is
  3   sent to the Product server for transmitting the asset location. The server receives the
  4   at least one address from a second (sending) positional information device at the asset
  5   (e.g., employee). Certain aspects of this element are illustrated in the screenshot(s)
  6   below and/or in those provided in connection with other allegations herein.
  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                               5
                       COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 6 of 10 Page ID #:6




  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13
            16.   The at least one address is received from the server at the requesting

 14
      positional information device.    For example the Product’s server transmits the

 15
      position of an asset (at least one address) to the requesting positional information

 16
      device. Certain aspects of this element are illustrated in the screenshot(s) below

 17
      and/or in those provided in connection with other allegations herein.

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                              6
                      COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 7 of 10 Page ID #:7




  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27
          17.   A second identifier for the second (sending) positional information
 28

                                            7
                    COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 8 of 10 Page ID #:8




  1   device is determined based on the first identifier and the server retrieves the at least
  2   one address stored in the at least one sending positional information device. The
  3   Product application installed on the requesting positional information device requests
  4   (from the server) the asset’s GPS location (i.e., at least one stored address stored). As
  5   shown above, before activating the tracker (i.e., the sending positional information
  6   device), a unique tracking device’s ID number or credentials (i.e., second identifier)
  7   needs to be added to the user’s account identified by the user login ID and password
  8   (i.e., the first identifier). Hence, the tracker device’s ID number or asset credentials
  9   (i.e., second identifier) is mapped to the user’s login ID (i.e., the first identifier) for
 10   tracking the real-time location (i.e., at least one stored address stored) of the asset.
 11   Certain aspects of this element are illustrated in the screenshot(s) below and/or in
 12   those provided in connection with other allegations herein.
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                               8
                       COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 9 of 10 Page ID #:9




  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                            9
                    COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
Case 8:21-cv-01536-JLS-KES Document 1 Filed 09/20/21 Page 10 of 10 Page ID #:10




   1          18.    Defendant’s actions complained of herein will continue unless
   2   Defendant is enjoined by this court.
   3          19.    Defendant’s actions complained of herein are causing irreparable harm
   4   and monetary damage to Plaintiff and will continue to do so unless and until
   5   Defendant is enjoined and restrained by this Court.
   6          20.    Plaintiff is in compliance with 35 U.S.C. § 287.
   7                               DEMAND FOR JURY TRIAL
   8          21. Under Rule 38 and L.R. 38-1, Plaintiff requests a trial by jury of any issues
   9   so triable by right.
  10                                   PRAYER FOR RELIEF
  11          WHEREFORE, Plaintiff asks the Court to:
  12          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  13   asserted herein;
  14          (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  15   employees, attorneys, and all persons in active concert or participation with Defendant
  16   who receive notice of the order from further infringement of United States Patent No.
  17   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
  18   judgment going forward);
  19          (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  20   accordance with 35 U.S.C. § 284;
  21          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  22          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  23   entitled under law or equity.
  24   Dated: September 19, 2021               Respectfully submitted,
  25
                                               /s/ Stephen M. Lobbin
  26                                           Attorney(s) for Plaintiff Social Positioning
  27                                           Input Systems, LLC

  28

                                                  10
                          COMPLAINT AGAINST LOCATION BASED TECHNOLOGIES, INC.
